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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

Vv. Case No. 19-CR-449

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)
)
)
KENNETH W. RAVENELL, et al., )
)
)

Defendants.

DEFENDANTS’ MOTION AND MEMORANDUM FOR ENTRY OF ORDER
PURSUANT TO THE DUE PROCESS PROTECTIONS ACT
AND FEDERAL RULE OF CRIMINAL PROCEDURE 5(f)
Defendants, by their undersigned counsel, move this Honorable Court for entry
of the accompanying proposed order pursuant to the Due Process Protection Act and
Fed. R. Crim. P. 5(f). In addition to the general terms required by the Due Process

Protection Act, for the reasons set forth in the Memorandum, the proposed order

specifically requires the government to produce all information relating to

, R.B., or his

attorney.

Introduction

This is an unusual, perhaps unique, criminal case.

. And then, over

the course of three hours during his initial meeting with Mr. Ravenell’s lawyer, bag
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ee eee provided numerous statements that directly exculpated Mr.

Ravenell from any criminal conduct, not saying anything that was inconsistent with
Mr. Ravenell’s innocence.

The government was acutely aware of this directly exculpatory information,
recorded on videotape, when it chose to indict Mr. Ravenell. Nonetheless, in response
to Mr. Ravenell’s request for any exculpatory information, the government stated that
it was not aware of any exculpatory information but would provide it if they became
aware of any such information. The LS Ree eee statements
directly exonerating Mr. Ravenell, which the government videotaped over two years
earlier, were not provided to Mr. Ravenell even though he had an upcoming trial date
at the time. This calls into question whether the government is fully aware of their
obligations to provide exculpatory information.

As discussed more fully below, the unusual facts here mean that all of the
communications between Ve ae Do 55 oor ee eee whether
reflected in contemporaneous writings or not, constitute material immediately
producible under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. And in light
of the recently enacted Due Process Protections Act, Pub. L. No 116-182, 134 Stat.
894 (Oct. 21, 2020) (““DPPA”), the court should not accept the normal bland

assurances that the prosecutors understand their Brady obligations and will of course
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comply. Given the history in this case,! there is ample reason to doubt that the
prosecutors do understand their Brady obligations.
Factual Background

The facts are extensively laid out in other motions,? and those facts are
incorporated by reference here. The facts pertinent to this motion are highlighted
below.

At various times prior to September 2017, R.B. had stated that he had
exculpatory information relating to his former attorney, Mr. Ravenell. For example,
in an April 2015 letter, R.B. stated that. he told an Assistant U.S. Attorney
investigating Mr. Ravenell that “Ravenell did nothing illegal, period.”? In
approximately February 2017, R.B.’s former counsel also advised Mr. Treem that
R.B. wanted to meet Mr. Treem to provide exculpatory information about

Mr. Ravenell. And April 2017, after he had been sentenced, R.B. called Mr. Treem

 

1 Ina letter of November 19, 2019, counsel for Mr. Ravenell made an explicit request
to the government to produce_any exculpatory information that any witness,
, had provided about Mr. Ravenell. Although a trial
date had been scheduled for the original indictment in this case, and in response to
the November 19 letter, the government had assured Mr. Ravenell’s counsel that any
such Brady material would be produced if and when it was discovered. The
government first produced the exculpatory information explicitly recorded on
videotape only after the superseding indictment in December 2020.

     
 

 

2 See Motion to Dismiss Superseding Indictment for Improper Recording of Defense
Witness Interview, and Alternatively to Suppress the Recording as Evidence; and
Motion to Dismiss Counts Four, Five, Six, And Seven Because Defendants Acted
Lawfully in the Course of Providing Bona Fide Legal Representation.

3 See Exhibit 2 (from JT legal file) at BGLHC-0033386, attached to Motion to Dismiss
Superseding Indictment for Improper Recording of Defense Witness Interview, and
Alternatively to Suppress the Recording as Evidence.

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directly and left a voicemail for him advising him that he “needed to come see me
[R.B.] immediately” and that “there’s a lot of information that I have that is
exculpatory to your client [Ravenell].”4

Mr. Treem was eventually able to arrange to meet R.B. on the weekend of
September 9-10, 2017, in Arizona where R.B. was being held on state charges. Mr.

Treem took with him a trained, professional investigator, Sean Gordon. In the

meantime,

ii ee ee Over the course of three hours on September 9, R.B. met

with Messrs. Treem and Gordon and made numerous statements that were
exculpatory as to Mr. Ravenell, just as Mr. Treem had expected. Among the many
exculpatory statements that R.B. affirmed was that Mr. Ravenell was not aware that
money provided by R.B. was derived from the sale of drugs and that R.B. deliberately
tried to make sure Mr. Ravenell did not know. Indictment Count Four { 25. When he
came to the interview on September 9, R.B. brought with him notes that were not

visible to Mr. Treem and Mr. Gordon. It is not clear whether these were notes he

prepared himself,

 

4 See Exhibits 1A (transcript) and 1B (recording), from JT legal file, attached as
Exhibits 1A and 1B to Motion to Dismiss Superseding Indictment for Improper
Recording of Defense Witness Interview, and Alternatively to Suppress the Recording
as Evidence.
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The next day, September 10, Messrs. Treem and Gordon returned to meet with
Despite what he said the day before, on September 10 R.B. said that the “real of the
situation” was that Mr. Ravenell knew about R.B.’s illegal drug business. Indictment
Count Four J 60. During the interview session on September 10, R.B. said that “Ken
can get anything he wants from me that’s not a problem.” Id. { 59. But what he
wanted was the money he claimed was owed to him. And after saying what the “real
of the situation was” R.B. said, “what I’m saying is, I’m going to be a good soldier like
I’m supposed to be, but I need Ken to put his nuts on the line for me and make sure I
get my fucking money.” Id. { 61.

Neither Mr. Treem nor Mr. Gordon had any follow-up conversation with R.B.
after September 10, 2017. Nevertheless, In January 2018, R.B. initiated contact with
Mr. Gordon, leaving a series messages in which he threatened to go to the U.S.
Attorney’s office unless R.B. was paid the money he claimed he was owed. Exhibit 1.

On February 8, 2018, having learned of the voicemails that R.B. left for Mr.
Gordon, Mr. Treem sent a letter to a federal judge reporting on what he deemed to be
a criminal offense by R.B., to wit, extortion and blackmail. He quoted from the R.B.
voicemails to Mr. Gordon from January. Sometime later, in the summer of 2018, the
federal judge provided that letter to the government, and the government has relied
on that letter in bringing the criminal charges in this case.

These facts raise perplexing questions.
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First, what was the government thinking when it decided it was appropriate
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the time, Mr. Treem had well over forty years in the practice of criminal law. He is
widely respected in the bar and in this court. His record is unblemished. There was
not a scintilla of evidence that Mr. Treem would do anything improper in an interview

of a witness. Under these circumstances, if it is deemed to be okay

undermine the work that a defense lawyer is obliged to undertake

on behalf of a client, then surely it will become normal and routine, part of the
prosecutor’s playbook. That cannot happen if we are to have a functioning and fair

criminal justice system.

Second, why would a

, make and affirm extensive exculpatory
statements during the three-hour interview on September 9? The reasonable

explanation—arguably the only reasonable explanation—is that

, and thus conveyed his true state of mind, to wit,

that the truthful information he had was exculpatory. To paraphrase Mark Twain,

the truth is always easier to remember.

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surely favorable to the defense.

Third,
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Obviously, with his exculpatory statements on September 9, R.B. had inflicted serious

damage to the government’s case against Mr. Ravenell,

Fourth,

And if the latter, that raises another question.

What action did the government take, and what
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The Court Should Enter the Attached Order Pursuant to the DPPA

The DPPA amended Rule 5 of the Federal Rule of Criminal Procedure to
require “[i]Jn all criminal proceedings” that the Court “shall issue an oral and written
order to prosecution and defense counsel that confirms the disclosure obligation of
the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and the
possible consequences of violating such order under applicable law.”

In accordance with the DPPA, courts have issued orders that particularize “the
disclosure obligation of the prosecutor” as directed by the Act. See, e.g., United States
v. Wong, 2020 WL 6485000, at *1 (S.D.N.Y. Nov. 4, 2020). Such orders: (1) describe
what is encompassed by the prosecutor’s obligation to disclose information “favorable”
to the accused; and (2) specify that the government must disclose such evidence
“promptly after its existence becomes known to the Government.” Id.; see also United
States v. Smith Grading & Paving, Inc., 760 F.2d 527, 532 (4th Cir.1985) (noting that

Due Process Clause requires disclosure of Brady material “in time for its effective use
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at trial”); United States v. Le, 306 F. Supp. 2d 589, 592 n.5 (E.D. Va. 2004) (noting
that Brady disclosure “must be produced on a prompt, ongoing basis.”).

Furthermore, according to Rule 704 of the District of Maryland Local Rules,
this Court applies the Rules of Professional Conduct adopted by the Maryland Court
of Appeals. Rule 19-303.8(d) requires a prosecutor in a criminal case to “make timely
disclosure to the defense of all evidence or information known to the prosecutor that
tends to negate the guilt of the accused or mitigates the offense.” See also ABA Model
Rule 3.8(d) (same).

Accordingly, the Court should enter the attached Order to specify the
government’s “broad obligation to disclose exculpatory evidence,” Strickler v. Greene,
527 U.S. 263, 281 (1999), as well as its affirmative duty to seek out information in
the hands of law enforcement that is favorable to the defendant or undermines the
prosecution’s case. Id. at 280-81. The proposed order also makes clear that the
government’s obligation encompasses evidence that has “some weight” and a
“tendency to be favorable” to the accused at trial, sentencing, and in pretrial hearings.
Long, 972 F.3d at 461. And it specifies that favorable evidence should be turned over
in a timely manner. Smith Grading & Paving, Inc., 760 F.2d at 532.

Moreover, given the facts described above, which make this such an unusual

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Mi Ree Net ni Mirna canal and make clear that failure to adhere to this order

may result in significant consequences, up to and including vacating a conviction or
disciplinary action against the prosecution.

Respectfully submitted,

SCHULTE ROTH & ZABEL LLP

/s/ Peter H. White

Peter H. White (D.C. Bar: 468746) (VA Bar: 32310)
Aislinn Affinito (D.C. Bar: 1033700) (CA Bar:
300265)

McKenzie Haynes (N.Y. Bar: 5683859)

Schulte Roth & Zabel

901 Fifteenth Street, NW, Suite 800

Washington, DC 20005

pete.white@srz.com

aislinn.affinito@srz.com

mckenzie. haynes@srz.com

OUTLAW PLLC

/s/ Lucius T. Outlaw

Lucius T. Outlaw ITI #20677)
Outlaw PLLC

1351 Juniper St. NW
Washington, DC 20012

(202) 997-3452
loutlaw3@outlawpllic.com

Attorneys for Kenneth Ravenell

SCHERTLER ONORATO MEAD & SEARS, LLP
/s/Robert P. Trout

Robert P. Trout, Bar No. 01669

901 New York Ave., NW, Suite 500

Washington, DC 20006

Telephone: (202) 675-4410

Facsimile: (202) 628-4177
rtrout@schertlerlaw.com

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/s/ Daniel F. Goldstein

Daniel Goldstein, Bar No. 01036
131 Rte 9A

Spofford, NH 03462

Telephone: (410) 218-8537

dan@gold-stein.com

Attorneys for Joshua Treem

OFFICE OF THE FEDERAL PUBLIC DEFENDER

/s|_ Geremy C. Kamens
Geremy C. Kamens

Admitted Pro Hac Vice

Office of the Federal Public Defender
1650 King St., Suite 500

Alexandria, Virginia 22314
Telephone: 703-600-0800

Facsimile: 703-600-0880

Geremy Kamens@fd.org

LEGRAND LAW PLLC
/s/_ Rebecca S. LeGrand
Rebecca S. LeGrand

Bar No. 18351

1100 H St. NW, Suite 1220
Washington, DC 20005
Telephone: 202-587-5725
Facsimile: 202-795-2838
rebecca@legrandpllc.com

Attorneys for Sean Gordon

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CERTIFICATE OF SERVICE

I hereby certify that on this 30 day of March, 2021, I caused a copy of
Defendants’ Motion and Memorandum for Entry of Order Pursuant to the Due
Process Protections Act and Federal Rule of Criminal Procedure 5(f) to be served upon
counsel for the United States of America via ECF and that true and correct copies of
the filing are available to all parties through ECF and/or PACER.

/s/ Robert P. Trout
Robert P. Trout
Attorney for Joshua R. Treem

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